           Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 1 of 12




 1                                                      The Honorable James L. Robart
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 8                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10
     In Re: Zillow Group, Inc. Session Replay
     Software Litigation                        Master File No. 2:22-cv-01282-JLR
11

12                                              PLAINTIFFS' SUPPLEMENTAL
     This Document Refers to: All Actions       BRIEF
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                                                ORAL ARGUMENT REQUESTED
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                                                              TOUSLEY BRAIN STEPHENS PLLC
     PLAINTIFFS' SUPPLEMENTAL BRIEF                                1200 Fifth Avenue, Suite 1700
                                                                    Seattle, Washington 98101
                                                              TEL. 206.682.5600 • FAX 206.682.2992
                Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 2 of 12




                                                       TABLE OF CONTENTS
 1

 2   INTRODUCTION ........................................................................................................................ 1

 3   ARGUMENT ............................................................................................................................... 2
 4             I.         Under Jones, Plaintiffs Have Adequately Alleged Constitutional Injury
                          to Satisfy the Article III Standing Requirements ................................................. 2
 5

 6             II.        Plaintiffs Have Alleged a Plausible Injury to Within the Meaning
                          of the Washington Privacy Act............................................................................. 3
 7
               III.       Jones Did Not Involve a Surreptitious Third-Party Interception
 8                        of Competitively Revealing Data ......................................................................... 6
 9
     CONCLUSION ............................................................................................................................ 7
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                                                                                                          TOUSLEY BRAIN STEPHENS PLLC
     PLAINTIFFS' SUPPLEMENTAL BRIEF - i                                                                         1200 Fifth Avenue, Suite 1700
                                                                                                                 Seattle, Washington 98101
                                                                                                           TEL. 206.682.5600 • FAX 206.682.2992
               Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 3 of 12




                                                  TABLE OF AUTHORITIES
 1

 2                                                                                                                                      Page(s)

 3   Cases

 4   Adams v. PSP Grp., LLC,
      2023 WL 5951784 (E.D. Mo. Sept. 13, 2023) .......................................................................... 3
 5

 6   Byars v. Sterling Jewelers, Inc.,
      2023 WL 2996686 (C.D. Cal. Apr. 5, 2023)............................................................................. 3
 7
     Calhoun v. Google LLC,
 8    526 F. Supp. 3d 605 (N.D. Cal. 2021) ...................................................................................... 4
 9
     Cook v. GameStop, Inc.,
10    __ F. Supp.3d __, 2023 WL 5529772 (W.D. Pa. Aug. 28, 2023) ............................................. 3

11   Eichenberger v. ESPN, Inc.,
       876 F.3d 979 (9th Cir. 2017) ..................................................................................................... 2
12
     In re Anthem Inc. Data Breach Litig.,
13
       2016 WL 3029783 (N.D. Cal. May 17, 2016) .......................................................................... 4
14
     In re Facebook Privacy Litigation,
15     572 F. App’x 494 (9th Cir. 2014) ............................................................................................. 4
16   In re Facebook, Inc. Internet Tracking Litig.,
       956 F.3d 589 (9th Cir. 2020) ..................................................................................................... 2
17

18   In re Marriott Int'l, Inc., Data Sec. Breach Litig.,
       440 F. Supp. 3d 447 (D. Md. 2020) .......................................................................................... 4
19
     In re Yahoo! Inc. Cust. Data Sec. Breach Litig.,
20     2017 WL 3727318 (N.D. Cal. Aug. 30, 2017) .......................................................................... 4
21
     Iten v. Los Angeles,
22     2023 WL 5600292 (9th Cir. Aug. 30, 2023) ............................................................................. 3

23   Jones v. Ford Motor Company,
       --- F.4th ---, 2023 WL 7097365 (9th Cir. Oct. 27, 2023)................................................. Passim
24

25   Lightoller v. Jetblue Airways Corp.,
       2023 WL 3963823 (S.D. Cal. June 12, 2023) ........................................................................... 3
26

                                                                                                       TOUSLEY BRAIN STEPHENS PLLC
     PLAINTIFFS' SUPPLEMENTAL BRIEF - ii                                                                     1200 Fifth Avenue, Suite 1700
                                                                                                              Seattle, Washington 98101
                                                                                                        TEL. 206.682.5600 • FAX 206.682.2992
                Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 4 of 12




     Massie v. Gen. Motors LLC,
 1
      2022 WL 534468 (D. Del. Feb. 17, 2022) ................................................................................ 3
 2
     Mikulsky v. Noom, Inc.,
 3    2023 WL 4567096 (S.D. Cal. July 17, 2023)............................................................................ 3
 4   Patel v. Facebook, Inc.,
      932 F.3d 1264 (9th Cir. 2019) ................................................................................................... 2
 5

 6   Straubmuller v. JetBlue Airways Corp.,
       2023 WL 5671615 (D. Md. Sept. 1, 2023) ............................................................................... 3
 7
     Washington State Physicians Ins. Exch. & Ass’n v. Fisons Corp.,
 8    122 Wash. 2d 299 (1993) .......................................................................................................... 5
 9
     Statutes
10
     Wash. Rev. Code § 9.73.060 ................................................................................................ 3, 4, 5
11
     Rules
12

13   Fed. R. Civ. P. 12(b)(6) ................................................................................................................ 1

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                                                                                                          TOUSLEY BRAIN STEPHENS PLLC
     PLAINTIFFS' SUPPLEMENTAL BRIEF - iii                                                                       1200 Fifth Avenue, Suite 1700
                                                                                                                 Seattle, Washington 98101
                                                                                                           TEL. 206.682.5600 • FAX 206.682.2992
             Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 5 of 12




 1                              PLAINTIFFS’ SUPPLEMENTAL BRIEF
 2           Pursuant to the Court’s October 30, 2023 order (ECF No. 68) directing the parties to
 3   address the impact of Jones v. Ford Motor Company, --- F.4th ---, No. 22-35477, 2023 WL
 4   7097365 (9th Cir. Oct. 27, 2023), on the motions to dismiss filed by Defendants Zillow Group,
 5   Inc. and Microsoft Corporation (“Defendants”), Plaintiffs respectfully submit this brief in further
 6   support of their opposition to Defendants’ motions to dismiss (ECF Nos. 58–59) and their first
 7   supplemental brief regarding Article III standing. ECF No. 65.
 8                                           INTRODUCTION
 9           In Jones, Ford removed to federal court a complaint alleging that Ford violated the
10   Washington Privacy Act (“WPA”) by recording and storing Plaintiffs’ private communications
11   from connected cellphones in its vehicle infotainment systems without Plaintiffs’ knowledge or
12   consent. 2023 WL 7097365, at *1, *3. The district court dismissed the case under Rule 12(b)(6),
13   holding that the plaintiffs failed to adequately allege a statutory injury. Id. at *2. The plaintiffs
14   appealed and sought to remand the case to Washington state court, urging the Ninth Circuit to
15   find that Ford “self-rebutted” that Article III standing exists when it argued that the plaintiffs
16   “failed to plead a statutory injury under the WPA in its motion to dismiss.” Id. The Ninth Circuit
17   rejected the plaintiffs’ argument and affirmed the district court’s dismissal, holding that the
18   plaintiffs adequately alleged constitutional injury-in-fact sufficient to confer Article III standing
19   but nonetheless failed to allege a statutory injury to the business, person, or reputation, as required
20   under the WPA. Id. *2–3.
21           As to Article III standing, Jones confirms that Plaintiffs have standing because they allege
22   a plausible violation of state-law wiretapping statutes, which embody common law privacy
23   rights, as Plaintiffs previously argued. See generally ECF No. 65. The invasion of those statutory
24   and common law rights is concrete injuries-in-fact. Indeed, the Ninth Circuit remarked that the
25   law on this point is settled. Jones, 2023 WL 7097365, at *2. As to injury-in-fact as an elemental
26   or statutory standing requirement under the WPA, Plaintiffs have alleged plausible injury by way


     PLAINTIFFS' SUPPLEMENTAL BRIEF - 1                                       TOUSLEY BRAIN STEPHENS PLLC
                                                                                1200 Fifth Avenue, Suite 1700
                                                                                  Seattle, Washington 98101
                                                                            TEL. 206.682.5600 • FAX 206.682.2992
              Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 6 of 12




 1   of loss of personal information as well as mental pain and suffering. These are injuries that the
 2   Jones plaintiffs did not allege.
 3                                              ARGUMENT
 4       I.      Under Jones, Plaintiffs Have Adequately Alleged Constitutional Injury to Satisfy
                 the Article III Standing Requirements
 5
              Jones unambiguously confirms that Plaintiffs have adequately alleged Article III standing
 6
     (ECF No. 65) and definitively rebuts Defendants’ contrary arguments. See ECF Nos. 66–67.
 7
              Jones is unequivocal that “[w]ith respect to constitutional injury-in-fact, the relevant law
 8
     is settled. A statute that codifies a common law privacy right ‘gives rise to a concrete injury
 9
     sufficient to confer standing.’”1 Jones, 2023 WL 7097365, at *2 (citing In re Facebook, Inc.
10
     Internet Tracking Litig., 956 F.3d 589, 598 (9th Cir. 2020)); see also Eichenberger v. ESPN, Inc.,
11
     876 F.3d 979, 983 (9th Cir. 2017); Patel v. Facebook, Inc., 932 F.3d 1264, 1272–73 (9th Cir.
12
     2019). The Ninth Circuit confirmed that the WPA codifies such a substantive privacy right, and
13
     then held that the plaintiffs plausibly articulated an Article III injury when they alleged that their
14
     privacy rights were violated when the vehicle “infotainment system permanently store[d] the
15
     [plaintiffs’] private communications without [their] knowledge or consent.” Id. at *3.
16
              Under Jones, Plaintiffs’ allegations that their communications on Zillow’s website2 were
17
     intercepted without their knowledge or consent by Session Replay Code and shared with Session
18
     Replay Providers such as Microsoft3 plausibly alleges a constitutional injury sufficient to
19

20   1
       The Ninth Circuit’s approach in Jones, Eichenberger and In re Facebook, Inc. contain a
     requirement to separate the issues of standing from the elements of a claim and to not engage in
21   the subjective evaluation of information’s sensitivity. To require a plaintiff to plead anything
     more encroaches on an analysis of the merits instead of an analysis on standing.
22   2
       CAC ¶ 73 (“Plaintiff Huber has substantively engaged with Zillow’s website to browse homes
23   available for purchase, update her housing information, and has entered personal and financial
     information, such as name, address, date of birth, phone number, credit score range, current loans,
24   and estimates of loans into text fields and Zillow questionnaires.”); ¶ 75 (“Popa . . . entered
     personal and financial information, such as name, address, date of birth, phone number, credit
25   card, and other financial information into text fields.”); ¶ 72 (same for Plaintiff Hasson); ¶ 76
     (same for Plaintiff Strezlin); ¶ 77 (“Adams has substantively engaged with Zillow’s website and
26   has entered information into text fields.”); ¶ 78 (same for Plaintiff Adams’ minor child H.A.).
     3
       See CAC ¶¶ 81–83.

     PLAINTIFFS' SUPPLEMENTAL BRIEF - 2                                      TOUSLEY BRAIN STEPHENS PLLC
                                                                               1200 Fifth Avenue, Suite 1700
                                                                                 Seattle, Washington 98101
                                                                           TEL. 206.682.5600 • FAX 206.682.2992
               Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 7 of 12




 1   establish Article III standing. Id. Jones supports Plaintiffs’ contention that it is improper to
 2   qualitatively assess the sensitivity of the allegedly intercepted communications as part of the
 3   Article III standing analysis. See ECF No. 65 at 4. Defendants, however, argued that such a
 4   qualitative assessment is required. See ECF No. 66 at 3–4; ECF No. 67 at 2. Jones clearly
 5   invalidates Defendants’ approach. Indeed, requiring a plaintiff to “plead a [statutory]-specific
 6   injury to establish jurisdiction conflates standing with the merits.” Jones, 2023 WL 7097365, at
 7   *2. Whether Plaintiffs “‘will be successful on the merits in [this] suit against [Defendants] does
 8   not affect whether [they have] standing to pursue such a suit.’” Id. at *3 (quoting Iten v. Los
 9   Angeles, No. 22-55480, 2023 WL 5600292, at *8 (9th Cir. Aug. 30, 2023)) (first and third
10   alterations in original). None of Defendants’ non-precedential cases can be squared with Jones.4
11   Plaintiffs have thus plausibly alleged concrete and particularized injuries sufficient to establish
12   Article III standing.
13       II.      Plaintiffs Have Alleged a Plausible Injury to Within the Meaning of the
                  Washington Privacy Act.
14
               “To bring a claim under the WPA, a plaintiff must show that ‘a violation of [the WPA]
15
     has injured his or her business, his or her person, or his or her reputation. A person so injured
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     shall be entitled to actual damages . . . or liquidated damages.’” Jones v, 2023 WL 7097365, at
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     *3 (quoting Wash. Rev. Code § 9.73.060).5 In Jones, the Ninth Circuit found that the statutory
18
     violation itself does not necessarily establish the requisite injury under the WPA. Id. (“[A]
19

20   4
       Adams v. PSP Grp., LLC, No. 4:22-CV-1210 RLW, 2023 WL 5951784, at *5 (E.D. Mo. Sept.
21   13, 2023); Straubmuller v. JetBlue Airways Corp., Civil Action No. DKC 23-384, 2023 WL
     5671615, at *4 (D. Md. Sept. 1, 2023); Cook v. GameStop, Inc., __ F. Supp. 3d __, 2:22-cv-1292,
22   2023 WL 5529772, at *3–4 (W.D. Pa. Aug. 28, 2023); Lightoller v. Jetblue Airways Corp., No.
     23-CV-00361-H-KSC, 2023 WL 3963823, at *4 (S.D. Cal. June 12, 2023); Mikulsky v. Noom,
23   Inc., No. 3:23-CV-00285-H-MSB, 2023 WL 4567096, at *5 (S.D. Cal. July 17, 2023); Byars v.
     Sterling Jewelers, Inc., No. 5:22-CV-01456-SB-SP, 2023 WL 2996686, at *3 (C.D. Cal. Apr. 5,
24   2023); Massie v. Gen. Motors LLC, No. CV 21-787-RGA, 2022 WL 534468, at *3 (D. Del. Feb.
     17, 2022).
25   5
       Specifically, the WPA provides a cause of action to a plaintiff “claiming that a violation of this
     statute has injured his or her . . . person.” (emphasis added). It does not require actual injury to
26   state a claim, only to recover damages. (“A person so injured shall be entitled to actual damages
     . . . .”) (emphasis added).

     PLAINTIFFS' SUPPLEMENTAL BRIEF - 3                                     TOUSLEY BRAIN STEPHENS PLLC
                                                                              1200 Fifth Avenue, Suite 1700
                                                                                Seattle, Washington 98101
                                                                          TEL. 206.682.5600 • FAX 206.682.2992
             Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 8 of 12




 1   violation of the statute alone,” without allegations of such injury, “is insufficient to meet the
 2   statutory injury requirements of Section 9.73.060.”). Here, however, unlike in Jones, Plaintiffs
 3   have alleged injury to their “person” resulting from the surreptitious recording of their
 4   interactions on Zillow’s website—interactions that reveal Plaintiffs’ personal information,
 5   including information that might directly undermine Plaintiffs’ position when negotiating a
 6   purchase price for a home. Plaintiffs have alleged more than just a violation of the statute. They
 7   have alleged plausible injury to their persons.
 8          In their Complaint, Plaintiffs allege a loss of their personal information as a result of the
 9   illegal wiretap. The Ninth Circuit, as well as courts across the country, have routinely held that a
10   loss of personal information constitutes an injury. See Calhoun v. Google LLC, 526 F. Supp. 3d
11   605, 635 (N.D. Cal. 2021) (finding the plaintiffs had alleged a statutory larceny claim where the
12   defendant’s web browser collected and transmitted a user’s browsing history without consent,
13   and noting that “[C]ourts have also acknowledged that users have a property interest in their personal
14   information.”); see also In re Facebook Privacy Litigation, 572 F. App’x 494, 494 (9th Cir.

15   2014) (concluding that the plaintiffs alleged a plausible harm when their personal information
16   was disclosed in a data breach and they lost the sales value of their personal information); In re
17   Marriott Int'l, Inc., Cust. Data Sec. Breach Litig., 440 F. Supp. 3d 447, 461 (D. Md.
18   2020) (“[T]he growing trend across courts that have considered this issue is to recognize the lost
19   property value of this information.”); In re Yahoo! Inc. Cust. Data Sec. Breach Litig., 2017 WL
20   3727318, at *13 (N.D. Cal. Aug. 30, 2017) (holding that plaintiffs had adequately alleged injury
21   in fact based on the loss of value of their personal information); In re Anthem Inc. Data Breach
22   Litig., 2016 WL 3029783, at *14 (N.D. Cal. May 17, 2016) (concluding that the plaintiffs had
23   alleged plausible injury from the loss of value of their personal information).
24          Plaintiffs’ allegations, taken as true, sufficiently allege that Defendants surreptitiously
25   captured Plaintiffs’ electronic communications, including personal information, and that the
26   nonconsensual taking of the information caused an injury to their persons. See CAC ¶¶ 34, 39,


     PLAINTIFFS' SUPPLEMENTAL BRIEF - 4                                      TOUSLEY BRAIN STEPHENS PLLC
                                                                               1200 Fifth Avenue, Suite 1700
                                                                                 Seattle, Washington 98101
                                                                           TEL. 206.682.5600 • FAX 206.682.2992
             Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 9 of 12




 1   63, 71–82, 94, 139, 140 (“[G]iven the monetary value of individual personal information,
 2   Defendants deprived Plaintiffs and the Nationwide Class members of the economic value of their
 3   interactions with Zillow’s website, without providing proper consideration for Plaintiffs’ and the
 4   Nationwide Class members’ property.”).
 5          Additionally, Plaintiffs have alleged that they plausibly incurred mental pain and
 6   suffering as a result of the surreptitious wiretapping. Mental pain and suffering is specifically
 7   delineated as a basis for actual damage under the WPA. RCW § 9.73.060 (“A person so injured
 8   shall be entitled to actual damages, including mental pain and suffering. . . .”). Because mental
 9   pain and suffering is a recoverable damage under the WPA, it establishes Plaintiffs’ injury within
10   the meaning of the statue at the pleading stage. For example, in Washington State Physicians Ins.
11   Exch. & Ass’n v. Fisons Corp., the Supreme Court of Washington analyzed “whether damages
12   for pain and suffering may be awarded under the [Consumer Protection Act].” 122 Wash. 2d 299,
13   317 (1993). The Court found that, since the Consumer Protection Act was limited to injuries to
14   a “business or property,” but did not include injuries to a “person,” the Consumer Protection Act
15   “retains restrictive significance. It would, for example, exclude personal injuries suffered.” Id. at
16   318. The Court found that omission critical: “[H]ad our Legislature intended to include actions
17   for personal injury within the coverage of the [Consumer Protection Act], it would have used a
18   less restrictive phrase than injured in his or her ‘business or property’. We agree.” Id. Here,
19   however, the legislature unambiguously included injury to the “person” as a type of injury
20   sufficient to fall within the WPA’s purview. Because the WPA includes injuries to a person,
21   Plaintiffs plausibly allege that their persons were injured by the mental pain and suffering caused
22   by the surreptitious wiretapping of their personal information. CAC ¶¶ 138–39.
23          Consistent with the body of law recognizing injury from the disclosure of personal
24   information, Plaintiffs here were injured by the surreptitious recording of their personal
25   preferences with regard to the purchase or sale of real estate. The disclosure of these preferences
26   undermines Plaintiffs’ bargaining position in an arms-length negotiation for the sale or purchase


     PLAINTIFFS' SUPPLEMENTAL BRIEF - 5                                      TOUSLEY BRAIN STEPHENS PLLC
                                                                               1200 Fifth Avenue, Suite 1700
                                                                                 Seattle, Washington 98101
                                                                           TEL. 206.682.5600 • FAX 206.682.2992
            Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 10 of 12




 1   of real estate. Experts on negotiation consistently recognize the power of information in the
 2   negotiation process, particularly in the negotiation of real estate: “[I]n an overheated real-estate
 3   market, the bidder who expresses the greatest desire for a given house risks being exploited by a
 4   seller with multiple offers.”6 Here, as alleged in the Complaint, every mouse movement, key
 5   stroke and search term entered by the Plaintiffs is secretly recorded on Zillow’s website. This
 6   type of information—such as, for example, a buyer’s consistent preference for a swimming
 7   pool—directly undermines the Plaintiffs’ position in the negotiation process. It is self-evident
 8   that, as a buyer negotiating a purchase price for a home with a swimming pool, such buyer would
 9   be well-served not to disclose that interest to the seller.
10       III.      Jones Did Not Involve a Surreptitious Third-Party Interception of Competitively
                   Revealing Data.
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                As it relates to injury under the WPA, Plaintiffs’ allegations here materially differ from
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     those presented in Jones.7 In Jones, the plaintiffs alleged that their Ford vehicle was equipped
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     with an “infotainment system” that “automatically downloads, copies, and indefinitely stores the
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     call logs and text messages of any cellphone connected to it.” 2023 WL 7097365, at *1. Though
15
     the plaintiffs alleged that their “private text messages” were transferred from their cell phones to
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     their automobiles’ “infotainment system,” “Plaintiffs [did] not allege . . . that Ford actually
17
     accessed the personal communications of the vehicle.” Id. Nor did the Jones plaintiffs allege that
18
     the third party responsible for the infotainment system—Berla Corporation (“Berla”)—accessed
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     the information. The Jones plaintiffs alleged only that Berla was “capable of extracting” the
20
     information, and that “the information may be accessed” by Berla. Id. (emphasis added).
21

22

23   6
        Pon Staff, When Not to Show Your Hand in Negotiations, Harvard (July 6, 2023)
24   https://www.pon.harvard.edu/daily/negotiation-skills-daily/when-not-to-show-your-hand/.
     7
      It is important to note that the Jones Court did not foreclose the possibility of the plaintiffs
25   being able to allege harm in this context. To the contrary, the Jones Court granted leave to amend,
     which the plaintiffs declined. Jones, 2023 WL 7097365 at *3 (“Plaintiffs failed [to allege injury]
26   here. We note that Plaintiffs were given an opportunity to amend their complaint but declined to
     do so.”).

     PLAINTIFFS' SUPPLEMENTAL BRIEF - 6                                       TOUSLEY BRAIN STEPHENS PLLC
                                                                                1200 Fifth Avenue, Suite 1700
                                                                                  Seattle, Washington 98101
                                                                            TEL. 206.682.5600 • FAX 206.682.2992
            Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 11 of 12




 1          In stark contrast, Plaintiffs here allege that Defendants’ session replay software
 2   automatically and surreptitiously captured and extracted Plaintiffs’ information, sending it to
 3   Microsoft in real-time. CAC ¶¶ 59, 61, 85. Further, Plaintiffs allege that the data is hosted on
 4   Microsoft’s cloud service, and Defendants have full access to that information. Id. ¶¶ 69, 287,
 5   289. Furthermore, Plaintiffs allege that session replay providers, such as Microsoft, generally
 6   access and compile the captured information recorded on all websites that the session replay
 7   providers monitor, creating a “fingerprint” that is unique to each browser, and allowing the
 8   session replay provider to build a profile on that user. Id. ¶¶ 45–46. The egregious nature of the
 9   software complained of by Plaintiffs, as well as the automatic nature in which it is captured and
10   accessed, differentiates the facts of this case materially from those alleged in Jones, where there
11   was no allegation that any information was actually obtained by a third-party, let alone used in
12   any way. Plaintiffs’ allegations here plausibly establish injury to meet the requirements of the
13   WPA.
14                                           CONCLUSION
15          Plaintiffs have plausibly established Article III standing and have plausibly alleged an
16   injury to persons to satisfy the requirements of WPA. The Court should reject Defendants’
17   arguments to the contrary.
18   DATED this 8th day of November, 2023.
19                                         TOUSLEY BRAIN STEPHENS PLLC
20
                                           By: s/ Kim D. Stephens, P.S.
21                                            Kim D. Stephens, P.S., WSBA #11984
                                              kstephens@tousley.com
22                                            Jason T. Dennett, WSBA #30686
                                              jdennett@tousley.com
23                                            Kaleigh N. Boyd, WSBA #52684
                                              kboyd@tousley.com
24                                            1200 Fifth Avenue, Suite 1700
                                              Seattle, Washington 98101
25                                            Telephone: 206.682.5600
                                              Fax: 206.682.2992
26


     PLAINTIFFS' SUPPLEMENTAL BRIEF - 7                                    TOUSLEY BRAIN STEPHENS PLLC
                                                                             1200 Fifth Avenue, Suite 1700
                                                                               Seattle, Washington 98101
                                                                         TEL. 206.682.5600 • FAX 206.682.2992
           Case 2:22-cv-01282-JLR Document 71 Filed 11/08/23 Page 12 of 12




                                          /s/ Joseph P. Guglielmo
 1
                                          Joseph P. Guglielmo (admitted pro hac vice)
 2                                        SCOTT+SCOTT ATTORNEYS
                                          AT LAW LLP
 3                                        The Helmsley Building
                                          230 Park Avenue, 17th Floor
 4                                        New York, NY 10169
                                          Telephone: 212-223-6444
 5
                                          Facsimile: 212-223-6334
 6                                        jguglielmo@scott-scott.com

 7                                        /s/ Gary F. Lynch
                                          Gary F. Lynch (admitted pro hac vice)
 8                                        LYNCH CARPENTER, LLP
 9                                        1133 Penn Avenue, 5th Floor
                                          Pittsburgh, PA 15222
10                                        Telephone: 412-322-9243
                                          gary@lcllp.com
11

12                                        Counsel for Plaintiffs
13

14

15

16

17

18

19

20

21

22

23

24

25

26


     PLAINTIFFS' SUPPLEMENTAL BRIEF - 8                              TOUSLEY BRAIN STEPHENS PLLC
                                                                       1200 Fifth Avenue, Suite 1700
                                                                         Seattle, Washington 98101
                                                                   TEL. 206.682.5600 • FAX 206.682.2992
